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UNITED STATES DISTRICT COURT

FoR THE DISTRICT oF CoLUMBIA ’5" § § §§ §:§
UNITED STATEs oF AMERICA * §~ZA§% ~: ’Tisjl§%

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/ id
ELIU LORENZANA CORDON * Criminal No. 03-331(CKK)
(Under Seal)

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NOTICE OF APPEARANCE

 

To the Clerk of the Court and all parties of record, please enter the appearance of
Manuel J. Retureta, as retained counsel of record for ELIU LORENZANA CORDON in

the above captioned case.

Respectfully submitted,

By: /s/
Manuel J. Retureta
Bar # 430006
601 Pennsylvannia Ave.NW
Washington, DC 20001
202-220-3073

I HEREBY CERTIFY that a true copy of the foregoing Notice of Appearance

Was served upon all parties via the Court’s ECF system or via facsimile.

/s/
Manuel J. Retureta

